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2006RO0748/am
UNITED STATES DISTRICT COURT

DISTRICEK OF NEW JERSEY

UNITED STATES OF AMERICA : Hon. (er
Vv. : Criminal Number: 09-434

JAMES V. LAFORTE, JR. and : Title 18, United States Code,
FRANCIS ALFIERT Sectiong 371, 844(1i}, 494,
19582, and 2

INDICTMENT

The Grand Jury in and for the District of New Jersey,
sitting at Newark, charges as follows:

COUNT _ ONE
(Consapiracy to Collect Extensions of Credit by Extortionate Means
- Title 18, United States Code, Section 894)

Background

1, At times relevant to this Indictment:

The Defendants and Other Parties

a. Defendant JAMES V. LAFORTE, JR. was a resident of
Staten Island, New York.

b. Defendant FRANCIS ALFIERI was a resident of Staten
Tsland, New York.

c. “Co-Conspirator One,” a co-conspirator not named
as a defendant herein, was an associate of defendants JAMES V.

LAFORTE, JR. and FRANCIS ALFIERI.
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The Conspiracy

2, From in or about early 2004 through in or about January
2005, in Middlesex County, in the District of New Jersey and
elsewhere, defendants

JAMES V. LAFORTE, JR. and
FRANCIS ALFIERL

knowingly and intentionally conspired with each other, Co-
Conspirator One, and others to participate in the use of
extortionate means, as defined in Title 18, United States Code,
Section 891({7}, to collect extensions of credit, and to punish
persons for the nonrepayment thereof,

Object of the Conspiracy

3. The object of the conspiracy was to use extortionate
means to collect payments on high interest loans given to
debtors.

Manner and Means of the Conspiracy

4. It was part of the conspiracy that defendants JAMES V.
LAPORTE, JR. and FRANCIS ALFIERI would make high interest loans
to debtors.

5. It was further part of the conspiracy that defendants
JAMES V. LAFORTE, JR. and FRANCIS ALFIERI would require debtors
to make weekly payments on these loans, which payments were often

collected by Co-Conspirator One and others.
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6. It was further part of the conspiracy that defendants
JAMES V. LAFORTE, JR. and FRANCIS ALFIERI, and Co-Conspirator
One, would use, and expressly and implicitly threatened the use
of violence and other criminal means to cause harm to debtors to
collect on these loans and to punish debtors for the nonrepayment
thereof.

7. In furtherance of the conspiracy and to effect the
object thereof , defendants JAMES V. LAFORTE, JR. and FRANCIS
ALFIERI, and their co-conspirators, committed the following acts:

a. In or about mid-2004, defendants JAMES V. LAFORTE,
JR. and FRANCIS ALFIERT gave a loan to a débtor (hereinafter
“Debtor One”) in the amount of approximately $3,000 (hereinafter
“First Loan”). Defendants JAMES V. LAFORTE, JR. and FRANCIS
ALFIERI required Debtor One to pay approximately $120 in interest
per week on this loan with the understanding that these interest
payments would not reduce the principal balance on the First
Loan.

b. In or about late 2004, defendants JAMES V.
LAFORTE, JR. and FRANCIS ALFIERI extended a second loan to Debtor
One in the amount of approximately $4,000 (hereinafter the
“Second Loan”). Defendants JAMES V. LAFORTE, JR. and FRANCIS
ALFIERI required Debtor One to pay approximately $150 in interest
per week on this loan with the understanding that these interest
payments would not reduce the principal balance on the Second

Loan.
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Cc. In or about late 2004, defendant FRANCIS ALFIERI
threatened to break Debtor One’s legs if Debtor One failed to
repay the Second Loan.

d. On or about December 17, 2004, in Edison, New
Jersey, Co-Conspirator One collected a $300 check from Debtor One
as payment on the Second Loan. While collecting this payment and
at defendant JAMES V. LAFORTE, JR.'s direction, Co-Conspirator
One assaulted Debtor One by smacking him across the face with an
open hand.

e. On or about January 14, 2005, Debtor One’s $300
check was cashed against a bank account controlled by defendants
JAMES V. LAFORTE, JR. and FRANCIS ALFIERL.

All in violation of Title 18, United States Code, Section

B94.
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COUNT TWO
(Collection of an Extension of Credit by Extortionate Means -
Title 18, United States Code, Sections 894 and 2)

1. The allegations set forth in Paragraphs 1 and 3 through
7 of Count One of this Indictment are hereby realleged as if
fully set forth herein,

2. On or about December 17, 2004, in Middlesex County, in
the District of New Jersey and elsewhere, defendants

JAMES V. LAFORTE, JR. and
FRANCIS ALFIERI

knowingly participated in the use of extortionate means, and
aided and abetted in the use of extortionate means, as defined by
Title 18, United States Code, Section 891(7), to collect and
attempt to collect an extension of credit, and to punish persons
for the nonrepayment thereof, as described in Paragraph 7d of
Count One of this Indictment.

In violation of Title 18, United States Code, Section 994

and Section 2.
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COUNT THREE
(Conspiracy to Travel in Aid of Racketeering Enterprise -
Title 18, United States Code, Section 371)

1, The allegations set forth in Paragraph la and le of
Count One of this Indictment are hereby realleged as if fully set
forth herein.

Background

2. At times relevant to Count Three of this Indictment:

a. Richmond Abstract Corporation (hereinafter
“Richmond Abstract”) was a real estate title company incorporated
in New York and headquartered in Staten Island, New York.
Defendant JAMES V. LAFORTE, JR. controlled the operations and
activities of Richmond Abstract and its employees, including its
salespersons,

b. An individual (hereinafter “Individual One”) was a
resident of Ocean County, New Jersey and was employed as a
salesman for Richmond Abstract. In or about late 2003,
individual One left Richmond Abstract and commenced employment

with another real estate title company in New Jersey.

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The Congpiracy

3, On or about June 23, 2004, in Ocean County, in the

District of New Jersey, and elsewhere, defendant
JAMES V. LAFORTE, JR.

knowingly and intentionally conspired and agreed with Co-
Conspirator One and others to travel in and use facilities in
interstate commerce, and to cause the travel in and the use of
facilities in interstate commerce, that is, from Staten Island,
New York to New Jersey, with the intent to commit a crime of
violence to Further an unlawful activity, namely, arson, contrary
to New Jersey Statute 2C: 17-1(a)-{(b), and to thereafter perform
an act to commit a crime of violence to further such arson,
contrary to Title 18, United States Code, Section 1952(a) (2).

Object of the Conspiracy

4, It was the object of the conspiracy for JAMES LAFORTE,
JR. and Co-Conspirator One to burn by arson cars used and
possessed by Individual One to exact revenge against him for
leaving the employment of Richmond Abstract, and causing others
to leave the company.

Manner and Means of the Conspiracy

5. It was 4 part of the conspiracy that defendant JAMES v,
LAPORTE, JR. would instruct Co-Conspirator One to set fire to
cars used by Individual One because he had ended his employment
with Richmond Abstract and had caused several of Richmond
Abstract’s employees to leave the company to work for Individual

one.
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6. It was a further part of the conspiracy that Co-
Conspirator One, once directed by defendant JAMES LAFORTE, JR.,
would travel with another individual, from Staten Island, New
York to Ocean County, New Jersey, and set fire and attempted to
set fire to cars used by Individual One.

Overt Acta

7. In furtherance of the conspiracy and to effect the
object thereof, defendant JAMES V. LAFORTE, JR. and his co-
conspirators caused the following overt acts to be committed in
the District of New Jersey and elsewhere:

A. On or about June 22, 2004, defendant JAMES V.
LAFORTE, JR. instructed Co-Conapirator One to travel to Ocean
County, New Jersey for the purpose of setting fire to cars used
and possessed by Individual One.

bh. On or about June 23, 2004, Co-Conspirator One
purchased gasoline in Staten Island, New York (hereinafter the
*“Gasoline”).

Cc. On or about June 23, 2004, Co-Conspirator One
traveled from Staten Island, New York to Ocean County, New Jersey
with the Gasoline.

d. On or about June 23, 2004, Co-Conspirator One
poured the Gasoline on two cars parked in the driveway of
Individual One’s residence and ignited the Gasoline with a flame,
thereby causing one car to be completely destroyed by fire.

All in violation of Title 18, United States Code, Section

371.
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COUNT FOUR
(Travel in Aid of Racketeering’ Enterprise -
Title 18, United States Code, Sections 1952 and 2)

1, The allegations set forth in Paragraph 1a and le of
Count One and Paragraphs 2 and 4 through 7 of Count Three of this
Indictment are hereby realleged as if fully set forth herein.

2. On or about June 23, 2004, in Ocean County, in the
District of New Jersey, and elsewhere, defendant

JAMES V. LAFORTE, JR.

knowingly and intentionally traveled in and used facilities in
interstate commerce, and caused the travel in and the use of
facilities in interstate commerce, that is, from Staten Island,
New York to New Jersey, with the intent to commit a crime of
violence to further an unlawful activity, namely, arson, contrary
to New Jersey Statute 2C: 17-1(a)-(b), and to thereafter cause an
act to be performed to commit a crime of violence to further such
arson, as described in Paragraph 7 of Count Three of this
Indictment.

In violation of Title 18, United States Code, Section

1952 (a} (2) and Section 2.
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COUNT FIVE
(Malicious Destruction of a Vehicle By Means of Fire -
Title 18, United States Code, Sections 844(i) and 2}

1. The allegations set forth in Paragraph la and 1d of
Count One and Paragraphs 2 and 4 through 7 of Count Three of this
Indictment are hereby realleged as if fully set forth herein.

2, On or about June 23, 2004, in Ocean County, in the
District of New Jersey, and elsewhere, defendant

JAMES V. LAFORTE, dR.
knowingly, willfully, and maliciously damaged and destroyed by
Fire and an explosive, and caused to be damaged and destroyed by
fire and an explosive, a vehicle, namely, a 2003 Mercedes Benz,
bearing Vehicle Identification Number WDBUF65793A133826, which
vehicle was used in interstate commerce and in an activity
affecting interstate commerce.

In violation of Title 18, United States Code, Section 844 (i)
and Section 2.

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RALPH J. MARRA, JR.
Acting United States Attorney

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